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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION

RESTORE ROBOTICS LLC and
RESTORE ROBOTICS REPAIRS LLC,

                         Plaintiffs,

      v.                                   Civil Case No. 5:19-cv-55-TKW-MJF

INTUITIVE SURGICAL, INC.,

                         Defendant.

INTUITIVE SURGICAL, INC.,

                   Counterclaimant,

      v.

RESTORE ROBOTICS LLC and
RESTORE ROBOTICS REPAIRS LLC,

            Counterclaim Defendants.

   INTUITIVE SURGICAL, INC.’S OPPOSITION TO PLAINTIFFS’
  MOTION TO DISMISS COUNT 6 OF AMENDED COUNTERCLAIMS

      Defendant/Counterclaimant Intuitive Surgical, Inc. (“Intuitive”) responds to

Restore Robotics LLC’s and Restore Robotics Repairs LLC’s (collectively,

“Restore” or “Plaintiffs”) motion to dismiss Count 6 of Intuitive’s First Amended

Counterclaims (the “Amended Counterclaims”) alleging a violation of the

Computer Fraud and Abuse Act, 18 U.S.C. § 1030 (“CFAA”).
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                                  INTRODUCTION

        Intuitive’s Amended Counterclaims state a claim under the CFAA.1 The

Court dismissed the CFAA count from Intuitive’s initial Counterclaims, with leave

to amend, on the sole ground that Intuitive had not “allege[d] that it suffered

damage or loss by reason of Plaintiffs’ alleged attempts to violate the CFAA.”

(Doc. 44 at 17 (emphasis added).) In the Amended Counterclaims, Intuitive

alleges, in addition to the other necessary elements, that the company incurred at

least $5,000 in attorney’s fees and other staff time responding to Restore’s

attempted hacking in violation of the CFAA. This constitutes a “loss” under the

statute and cures the pleading deficiency identified by the Court.

        Restore argues that Intuitive still does not state a claim in the form of

conduct that “actually impaired the integrity of the computer systems in

Defendant’s robots.” (Doc. 50 at 1.) This ignores the CFAA’s plain text, which

permits liability for attempted intrusions and broadly defines “loss” in a way that

encompasses reasonably incurred fees and staff time, not limited to “damage” to

the computer system itself. Intuitive respectfully requests that the Court deny

Restore’s Motion to Dismiss.




1
    Restore has not moved to dismiss the amended Lanham Act counterclaims.


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                                LEGAL STANDARD

       “To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Id. In considering Rule

12(b)(6) motions, courts must accept all factual allegations of the counterclaim as

true and construe them in the light most favorable to the counterclaimant. Pielage

v. McConnell, 516 F.3d 1282, 1284 (11th Cir. 2008).


                                     ARGUMENT

I.     Intuitive States A Claim For Relief Under The CFAA.

       To state a civil claim under the CFAA, a plaintiff must allege: (A) an actual

or attempted violation of the CFAA’s criminal provisions; (B) conduct that caused,

or would have caused, at least one of five enumerated outcomes; and (C) either

damage or loss. 18 U.S.C. §§ 1030(c)(4)(A)(i), (e)(8), (e)(11), (g). Intuitive

adequately alleges all these elements.


       A.     Intuitive Alleges An Attempt To Violate The CFAA.

       As is relevant here, the CFAA prohibits: (1) obtaining information from a

protected computer through intentional, unauthorized access; (2) intentionally


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accessing a protected computer knowingly and with the intent to defraud, obtaining

anything of value through said unauthorized access; and (3) intentionally accessing

a protected computer without authorization, causing damage or loss. Id. §

1030(a)(2), (a)(4), (a)(5). The CFAA also imposes liability for attempts to commit

these prohibited acts, providing that “[w]hoever conspires to commit or attempts to

commit an offense under subsection (a) of this section shall be punished.” 18

U.S.C. § 1030(b); see, e.g., Four Seasons Hotels & Resorts B.V. v. Consorcio

Barr, S.A., 267 F. Supp. 2d 1268, 1322 (S.D. Fla. 2003) (finding defendant liable

for attempted CFAA violations when he “attempted . . . to intentionally access

without authorization [the plaintiff’s] protected computers”), aff’d in part, rev’d in

part on other grounds sub nom, 138 F. App’x 297 (11th Cir. 2005). (See also Doc.

44 at 16-17.)

      Intuitive’s Amended Counterclaims allege that Restore’s employee, Clif

Parker, attempted to hack into Intuitive’s computer system to alter the system

maintenance schedule for a da Vinci Surgical System. (Amended Counterclaims ¶

55.) After having been “confronted with a preventive maintenance message on a

da Vinci Surgical System,” Mr. Parker called a former Intuitive employee and

solicited his assistance to “hack into [Intuitive’s] system to help the ‘PM’ message

go away.” (Id.; see also id. ¶¶ 9, 82-86.) This intentional attempt to gain

unauthorized access to Intuitive’s protected computer system and obtain


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information and a thing of value to Restore—a way around the preventative

maintenance message—is prohibited conduct under the CFAA. Four Seasons, 267

F. Supp. 2d at 1322.

      B.     Intuitive Alleges Causation Of At Least One Prohibited Outcome.

      The CFAA imposes civil liability when the prohibited conduct causes or, “in

the case of an attempted offense, would, if completed, have caused”: loss

exceeding $5,000 in a one-year period; potential modification or impairment of a

person’s medical care or treatment; physical injury; or a threat to public health or

safety. 18 U.S.C. §§ 1030(g), 1030(c)(4)(A)(i)(I)-(IV). In addition to the loss

exceeding $5,000 discussed immediately below, Intuitive alleges what would have

ensued had Restore completed the hack and removed the “PM Due” message that

ensures the proper and quality-controlled use of the da Vinci Surgical System, i.e.,

a potential modification or impairment to medical treatment, physical injury, or a

threat to public safety. (See Amended Counterclaims ¶ 87.) Restore does not

apparently dispute this element. (See Doc. 50 at 2-3.)

      C.     Intuitive Alleges A Loss.

      The CFAA provides a private right of action to “[a]ny person who suffers

damage or loss by reason of a violation of this section.” 18 U.S.C. § 1030(g)

(emphasis added). The CFAA defines “loss” as “any reasonable cost to any

victim, including the cost of responding to an offense, conducting a damage



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assessment, and restoring the data, program, system, or information to its condition

prior to the offense, and any revenue lost, cost incurred, or other consequential

damages incurred because of interruption of service.” 18 U.S.C. § 1030(e)(11).

      Applying this broad definition of “loss,” courts have held that “attorney’s

fees and investigation and enforcement costs . . . are compensable [under the

CFAA] as long as those costs were reasonably incurred responding to the offense.”

Facebook, Inc. v. Power Ventures, Inc., 252 F. Supp. 3d 765, 778 (N.D. Cal.

2017), aff’d, 749 F. App’x 557 (9th Cir. 2019); see also 2008 River Walck Saloon

v. Beard, No. 3:15-CV-2095, 2017 WL 4453557, at *3-4 (M.D. Pa. Sept. 8, 2017)

(finding attorney’s fees incurred in litigation responding to CFAA offense as a

“claimed category of loss is recoverable under CFAA as a matter of law”), report

and recommendation adopted, No. 3:15-CV-2095, 2017 WL 4435254 (M.D. Pa.

Oct. 5, 2017); A.V. ex rel. Vanderhye v. iParadigms, LLC, 562 F.3d 630, 646 (4th

Cir. 2009) (noting “‘the costs of responding to the offense are recoverable’

including ‘costs to investigate and take remedial steps’” (citation omitted)).2


2
  Although Restore has not cited it, the Amended Counterclaims are
distinguishable from Hamilton. See Hamilton Grp. Funding, Inc. v. Basel, No. 16-
61145-CIV-ZLOCH, 2019 WL 3765340, at *4–*5 (S.D. Fla. Aug. 7, 2019)
(finding “work done by Plaintiff’s attorneys [in a separate] case is too remote from
the CFAA violation at issue,” where the separate case was “initiated prior to and
independent of the breach at issue, [and] was not directly responsive to the breach
itself” and the “Plaintiffs’ attorneys in the [separate] case were not investigating
Defendant’s violation”). Unlike in Hamilton, the loss incurred here was not in


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      Intuitive amended its Counterclaims to allege a “loss” under the CFAA, thus

curing the deficiency the Court identified. Specifically, Intuitive alleges that “[i]n

response to the attempted hack, Intuitive’s staff and outside counsel were engaged

to,” among other things, “assess and plan Intuitive’s response, involving

expenditures on legal services exceeding $5,000.” (Amended Counterclaims ¶ 59;

see also id. ¶ 9 (alleging that the attempted hack “directly burden[ed] Intuitive with

the costs and effort, including attorney time, needed to respond to the attempted

hacking”).)

      On top of Intuitive’s attorney’s fees, Intuitive employees, including in-house

counsel and staff, spent time and resources responding to the attempted hack. (Id.)

Such allegations also count toward the alleged “loss,” as defined by the CFAA.

See United States v. Fowler, No. 8:10-cr-65-T-24 AEP, 2010 WL 4269618, at *3

(M.D. Fla. Oct. 25, 2010) (“While Defendant argues that time spent by salaried

employees cannot be considered a loss under the statute, the Court disagrees.”),

aff’d, 445 F. App’x 298 (11th Cir. 2011); Compass iTech, LLC v. eVestment All.,

LLC, No. 14-81241-CIV-MARRA\MATTHEWMAN, 2016 WL 10519027, at *13

(S.D. Fla. June 24, 2016) (finding employees’ time investigating the violation

constituted “costs of investigation” and thus “loss” under the CFAA).



other litigation, but in a direct response to the attempted breach. (Amended
Counterclaims ¶ 59.)


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      Restore argues in response that Intuitive “still does not allege that Restore

‘engaged in conduct . . . that, it would be plausible to say, actually impaired the

integrity of the computer systems in Defendant’s robots.’” (Doc. 50 at 1.) In other

words, Restore argues that Intuitive fails to state a claim because it does not plead

allegations of “damage,” which is defined by the CFAA as “any impairment to the

integrity or availability of . . . a system.” 18 U.S.C. § 1030(e)(8). Restore is

wrong. The CFAA requires only that Intuitive plead “damage or loss”; Intuitive

need not plead both. 18 U.S.C. § 1030(g) (emphasis added).3

      Accordingly, the alleged loss required to state a claim need not be connected

to an interruption of service, and need not cause “damage” as defined by the

CFAA. See Aquent LLC v. Stapleton, 65 F. Supp. 3d 1339, 1344 n.6 (M.D. Fla.

2014) (“Aquent’s alleged loss of the cost of responding to an offense and

conducting a damage assessment does not need to be connected to interruption of

service to state a claim under the CFAA.”); Brown Jordan Int’l, Inc. v. Carmicle,

846 F.3d 1167, 1174 (11th Cir. 2017) (finding “reasonable costs incurred in

connection with such activities as responding to a violation, assessing the damage

done, and restoring the affected data, program system, or information to its


3
  To the extent Restore means to argue that an “actual” intrusion to a computer
system is required under the CFAA, that argument must be rejected under the plain
terms of the statute that permit liability in the event of an attempt. 18 U.S.C. §
1030(b).


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condition prior to the violation” need not be related to an interruption in service).

To state a “loss” under the CFAA, it is sufficient that Intuitive pleads that its

employees and outside counsel reasonably incurred fees and expended time

investigating and responding to the attempted hack. See id.4

      Restore also argues, with no support, that Intuitive’s fees and staff time

cannot count as a “loss,” because if they did, any party could base a CFAA claim

on its legal expenses and thereby accomplish “an end run around the requirements

of the statute.” (Doc. 50 at 2.) Restore has it backwards; requiring allegations of

damage and loss, as Restore argues, would distort the requirements of the statute.

In any event, Restore cites no case or other authority holding that the alleged

attorney’s fees and staff time Intuitive reasonably incurred responding to Restore’s

attempted hack fall short of the CFAA’s “loss” element, and the cases cited above

show that such fees meet that element. Intuitive therefore plausibly alleges each

element of the CFAA claim.




4
 Restore relies on the Court’s discussion of Four Seasons, which the Court
provided as an example of how it is possible to show damage under the CFAA for
an attempted violation. (See Doc. 44 at 16.) Restore is wrong to read that example
as limiting Intuitive’s CFAA theory to damage when, in fact, the Court ultimately
concluded that Intuitive had not alleged damage or loss.



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II.       Restore’s Renewed Arguments From Past Briefing Also Fail.

          Restore also purports to “renew its other arguments from the motion to

dismiss the original counterclaims,” but restates only two of them. (Doc. 50 at 2.)5

First, Restore argues that the Amended Counterclaims fail to “plausibly allege how

Restore would seek or obtain access to robots without authorization of the owner

or exceed the authorization of the owner.” (Doc. 50 at 2-3 (emphasis added).)

Again, the attempted hack was directed at Intuitive’s protected computer system,

not a hospital’s; thus, whether the Restore employee had physical access to a robot,

or whether he was performing service on the robot, misses the point. (See Doc. 41

at 29.)

          Second, Restore argues that the Amended Counterclaims fail to “plausibly

explain how Restore intended to defraud the customer by removing the

preventative maintenance message after Restore serviced the robot at the

customer’s request.” (Doc. 50 at 3-4.) This argument fails as well. The Restore

employee was attempting to override the preventative maintenance message on a



5
  This is an inappropriate shortcut around the rules requiring motions to fully state
the bases for the relief requested, see Deforest v. Johnny Chisholm Glob. Events,
LLC, No. 3:08cv498/MCR/EMT, 2010 WL 1792094, at *5 n.12 (N.D. Fla. May 4,
2010), report and recommendation adopted, No. 3:08cv498/MCR/EMT, 2010 WL
2278356 (N.D. Fla. June 4, 2010), but to the extent the Court considers “renewed”
arguments that are not actually repeated in Restore’s pending motion, Intuitive
likewise renews its arguments in response. (See Doc. 41 at 25-31.)


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customer’s da Vinci Surgical System via illegal hacking, without explaining to the

customer that this activity was being done through illegal access to Intuitive’s

computer system, and in violation of the customer’s contract with Intuitive. (See

Doc. 41 at 29-30.) Indeed, Restore’s attempt to figure out a way to hack into this

device cannot reasonably be interpreted to be a legitimate act after it performed

“service” (likely inadequate) contrary to the customer’s Agreement with Intuitive.

Attempts to hack into a system to remove a “preventative maintenance” notice on a

complex device is a violation of the CFAA. Intuitive has now adequately pled a

claim based on this statute.

                                  CONCLUSION

      For the foregoing reasons, Intuitive respectfully requests that the Court deny

Restore’s Motion in full.



      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)

      Intuitive certifies this Memorandum complies with the word count limitation

set forth in Local Rule 7.1(F) because it contains 2,318 words, excluding the parts

exempted by said Local Rule.




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Dated: December 23, 2019           Respectfully submitted,

                                   /s/ Allen Ruby
                                   ALLEN RUBY (Pro Hac Vice)
                                   LANCE A. ETCHEVERRY (Pro Hac
                                     Vice)
                                   SKADDEN, ARPS, SLATE,
                                     MEAGHER & FLOM LLP
                                   525 University Avenue
                                   Palo Alto, CA 94301
                                   Tel: (650) 470-4500
                                   allen.ruby@skadden.com
                                   lance.etcheverry@skadden.com

                                   KAREN HOFFMAN LENT (Pro Hac
                                    Vice)
                                   MICHAEL H. MENITOVE (Pro Hac
                                    Vice Admission to be applied for)
                                   SKADDEN, ARPS, SLATE,
                                    MEAGHER & FLOM LLP
                                   4 Times Square
                                   New York, NY 10036
                                   Tel: (212) 735-3000
                                   karen.lent@skadden.com
                                   michael.menitove@skadden.com

                                   DAVID L. McGEE
                                   Fla. Bar No. 220000
                                   BEGGS & LANE, RLLP
                                   501 Commendencia Street
                                   Pensacola, FL 32502
                                   Telephone: (850) 432-2451
                                   dlm@beggslane.com

                                   Counsel for Intuitive Surgical, Inc.




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